Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 1 of 56
             Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 2 of 56




EX3170-002
    Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 3 of 56




EX3170-003
             Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 4 of 56




EX3170-004
      Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 5 of 56




EX3170-005
    Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 6 of 56




EX3170-006
    Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 7 of 56




EX3170-007
    Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 8 of 56




EX3170-008
    Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 9 of 56




EX3170-009
    Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 10 of 56




EX3170-010
    Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 11 of 56




EX3170-011
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 12 of 56




EX3170-012
Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 13 of 56
Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 14 of 56
             Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 15 of 56




EX3170-015
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 16 of 56




EX3170-016
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 17 of 56




EX3170-017
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 18 of 56




EX3170-018
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 19 of 56




EX3170-019
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 20 of 56




EX3170-020
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 21 of 56




EX3170-021
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 22 of 56




EX3170-022
Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 23 of 56
Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 24 of 56
             Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 25 of 56




EX3170-025
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 26 of 56




EX3170-026
    Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 27 of 56




EX3170-027
    Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 28 of 56




EX3170-028
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 29 of 56




EX3170-029
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 30 of 56




EX3170-030
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 31 of 56




EX3170-031
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 32 of 56




EX3170-032
Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 33 of 56
Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 34 of 56
             Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 35 of 56




EX3170-035
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 36 of 56




EX3170-036
    Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 37 of 56




EX3170-037
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 38 of 56




EX3170-038
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 39 of 56




EX3170-039
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 40 of 56




EX3170-040
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 41 of 56




EX3170-041
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 42 of 56




EX3170-042
Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 43 of 56
Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 44 of 56
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 45 of 56




EX3170-045
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 46 of 56




EX3170-046
    Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 47 of 56




EX3170-047
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 48 of 56




EX3170-048
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 49 of 56




EX3170-049
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 50 of 56




EX3170-050
   Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 51 of 56




EX3170-051
Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 52 of 56
Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 53 of 56
    Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 54 of 56




EX3170-054
    Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 55 of 56




EX3170-055
Case 3:20-cr-00249-RS   Document 676-1   Filed 06/06/25   Page 56 of 56
